                                                       Case 19-18094-EPK            Doc 40        Filed 10/16/19               Page 1 of 4
                                                                                   FORM 1                                                                                               Page: 1
                                                               INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                ASSET CASES
Case Number:   19-18094 EPK                                                                                  Trustee:                         DEBORAH C. MENOTTE
Case Name:     Richard Eric Berman                                                                           Filed (f) or Converted (c):      06/18/19 (f)
               Michelle Berman                                                                                D 0HHWLQJ'DWH            07/18/19
Period Ending: 09/30/19                                                                                      Claims Bar Date:                 11/19/19

                                         1                                   2                              3                           4                 5                         6
                                                                                                   Estimated Net Value                                                         Asset Fully
                                                                          Petition/           (Value Determined By Trustee,          Property         Sale/Funds            Administered (FA)/
                               Asset Description                        Unscheduled              Less Liens, Exemptions,           Abandoned          Received by            Gross Value of
Ref #               (Scheduled And Unscheduled (u) Property)               Values                    and Other Costs)           2$  D $EDQGRQ     the Estate           Remaining Assets

  1     2018 California Tax Refund (u)                                            1,320.00                         1,320.00                                    1,320.00            FA

  2     New York State 2018 Income Tax Refund (u)                                     80.00                            80.00                                        80.00          FA

  3     2018 Federal Income Tax Refund (u)                                       35,197.00                        35,197.00                                   35,197.00            FA

  4     9160 EQUUS CIRCLE BOYNTON BEACH - Exempt                             603,264.00                                 0.00                                         0.00          FA

  5     LEXUS RX 350L PREMIUM FWD 2018 LEASED                                          0.00                             0.00                                         0.00          FA

  6     LEXUS NX TURBO FWD 2017 LEASED                                                 0.00                             0.00                                         0.00          FA

  7     HOUSEHOLD GOODS & FURNISHINGS                                             5,655.00                         Unknown                                           0.00               Unknown

  8     BACCARAT PIECES, BRONZE PIECES, ART PRINTS AND                            1,400.00                         Unknown                                           0.00               Unknown
        LITHOGRAPHS
  9     2 OLD BICYCLES AND GOLF CLUBS                                              100.00                          Unknown                                           0.00               Unknown

 10     GLOCK 30 ,RUGER 380 LCP, S & W .38, AND A TOKAREV                          300.00                          Unknown                                           0.00               Unknown
        HAND GUN
 11     CLOTHING AND SHOES OF VALUE TO DEBTORS ONLY -                                 10.00                             0.00                                         0.00          FA
        Exempt
 12     Furs and jewelry                                                          1,600.00                         Unknown                                           0.00               Unknown

 13     DOG OF VALUE TO DEBTOR'S ONLY                                                  0.00                             0.00                                         0.00          FA

 14     CERVICAL TRACTION DEVICE AND TENS UNIT                                        10.00                             0.00                                         0.00          FA

 15     CASH ON HAND - Exempt                                                      200.00                               0.00                                         0.00          FA

 16     CHECKING WELLS FARGO ACCT # 8366                                           851.49                          Unknown                                           0.00               Unknown

 17     CHECKING SYNOVUS BANK ACCT # 7801                                         3,794.36                         Unknown                                           0.00               Unknown

 18     CHECKING WELLS FARGO ACCT # 9752 TALLY-APTS.COM                           3,150.00                              0.00                                         0.00          FA
        LLC: SECURITY DEPOSIT ACCOUNT FOR 1415
        CHARLOTTE STREET
        LLC OWNERSHIP INTEREST ABANDONED
 19     CHECKING CENTERSTATE BANK ACCT # 2106 BERMAN                              1,432.48                         Unknown                                           0.00               Unknown
        KEAN & RIGUERA, PA OPERATING ACCOUNT
                                                     Case 19-18094-EPK            Doc 40        Filed 10/16/19               Page 2 of 4
                                                                                 FORM 1                                                                                              Page: 2
                                                             INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                              ASSET CASES
Case Number:   19-18094 EPK                                                                                Trustee:                         DEBORAH C. MENOTTE
Case Name:     Richard Eric Berman                                                                         Filed (f) or Converted (c):      06/18/19 (f)
               Michelle Berman                                                                              D 0HHWLQJ'DWH            07/18/19
Period Ending: 09/30/19                                                                                    Claims Bar Date:                 11/19/19

                                     1                                     2                              3                           4                 5                        6
                                                                                                 Estimated Net Value                                                        Asset Fully
                                                                        Petition/           (Value Determined By Trustee,          Property         Sale/Funds           Administered (FA)/
                             Asset Description                        Unscheduled              Less Liens, Exemptions,           Abandoned          Received by           Gross Value of
Ref #             (Scheduled And Unscheduled (u) Property)               Values                    and Other Costs)           2$  D $EDQGRQ     the Estate          Remaining Assets

 20     CHECKING WELLS FARGO ACCT # 9914 TALLY-APTS                                 81.33                             0.00                                        0.00          FA
        LLC OWNERSHIP INTEREST ABANDONED
 21     CHECKING WELLS FARGO ACCT # 9891 1415 CHARLOTTE                          851.49                               0.00                                        0.00          FA
        STREET
        LLC OWNERSHIP INTEREST ABANDONED
 22     IRA MERRILL LYNCH ACCT # 7815                                      283,025.20                            Unknown                                          0.00               Unknown

 23     IRA MERRILL LYNCH ACCT # 7816                                      398,934.20                            Unknown                                          0.00               Unknown

 24     IRA MERRILL LYNCH ACCT # 7964                                      119,074.30                            Unknown                                          0.00               Unknown

 25     IRA MERRILL LYNCH ACCT # 9654                                          27,841.34                         Unknown                                          0.00               Unknown

 26     IRA MERRILL LYNCH ACCT # 9660                                          27,841.34                         Unknown                                          0.00               Unknown

 27     IRA MERRILL LYNCH ACCT # 1815                                      600,019.40                            Unknown                                          0.00               Unknown

 28     IRA MERRILL LYNCH ACCT # 2W33                                      305,635.40                            Unknown                                          0.00               Unknown

 29     MERRILL LYNCH ACCT # 9382 529 COLLEGE SAVINGS                           2,183.07                              0.00                                        0.00          FA
        PLAN FOR AD OWNER IS MICHELLE BERMAN SURVIVOR
        IS MEGAN DIGREGORIO - Exempt
 30     FLORIDA PREPAID COLLEGE SAVINGS PLANS PLAN #                           21,781.10                              0.00                                        0.00          FA
        XXXX 9613 ACCT OWNER IS RICHARD BERMAN
        BENEFICIARY IS HAYDEN RYAN UNGER SURVIVOR IS
        JESSICA UNGER - Exempt
 31     FLORIDA PREPAID COLLEGE SAVINGS PLANS PLAN #                           25,119.72                              0.00                                        0.00          FA
        XXXX 0871 ACCT OWNER IS RICHARD BERMAN
        BENEFICIARY IS LUCAS CAMERON UNGER SURVIVOR IS
        JESSICA UNGER - Exempt
 32     DEBTOR 1 HAS: FLORIDA BAR LICENSE AND NEW YORK                               0.00                             0.00                                        0.00          FA
        BAR LICENSEDEBTOR 2 HAS: REAL ESTATE LICENSE
 33     RRA MERRILL LYNCHACCT # 3J68                                           23,363.30                         Unknown                                          0.00               Unknown

 34     PENSION PLUMBERS AND PIPEFITTERS LOCAL 719                               624.19                               0.00                                        0.00          FA
        PENSIONTRUST FUND RECEIVES $624.19/MONTH.
        DEBTORSTO EXEMPT FULL AMOUNT OF PENSION. -
        Exempt
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                                                               INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                ASSET CASES
Case Number:   19-18094 EPK                                                                                     Trustee:                         DEBORAH C. MENOTTE
Case Name:     Richard Eric Berman                                                                              Filed (f) or Converted (c):      06/18/19 (f)
               Michelle Berman                                                                                   D 0HHWLQJ'DWH            07/18/19
Period Ending: 09/30/19                                                                                         Claims Bar Date:                 11/19/19

                                       1                                         2                             3                           4                   5                       6
                                                                                                      Estimated Net Value                                                         Asset Fully
                                                                              Petition/          (Value Determined By Trustee,          Property          Sale/Funds           Administered (FA)/
                               Asset Description                            Unscheduled             Less Liens, Exemptions,           Abandoned           Received by           Gross Value of
 Ref #              (Scheduled And Unscheduled (u) Property)                   Values                   and Other Costs)           2$  D $EDQGRQ      the Estate          Remaining Assets

  35     IRA MERRILL LYNCHACCT # 4515                                            210,133.60                           Unknown                                           0.00               Unknown

  36     IRR MERRILL LYNCHACCT # 3J69                                                78,893.26                        Unknown                                           0.00               Unknown

  37     MICHELLE BERMAN WAS IN A CAR ACCIDENT 2 YEARS                               Unknown                          Unknown                                           0.00               Unknown
         AGO. DEBTOR
         WAS INJURED. KELLY HANCOCK REPRESENTS HER.
  38     OLD COMPUTERS, SERVER, MONITORS, 3CHAIRS, 2                                 Unknown                          Unknown                                           0.00               Unknown
         SMALL TABLES, OLD FILES,
         PRINTS & LITHOGRAPHS
  39     BERMAN KEAN AND RIGUELA, PA 55% OF OWNERSHIP                                Unknown                          Unknown                                           0.00               Unknown

  40     1415 CHARLOTTE STREET, LLC                                              393,656.00                                0.00           OA                            0.00          FA
         ABANDONED ECF#14
  41     MIDLAND NATIONAL LIFE TERM POLICY                                           Unknown                               0.00                                         0.00          FA
         Per Amd. Sch ECF#11
  42     BRIGHTHOUSE FINANCIAL TERM                                                  Unknown                               0.00                                         0.00          FA
         Per Amd Sch ECF#11
TOTALS (Excluding Unknown Values)                                             $3,177,422.57                         $36,597.00                                  $36,597.00                    $0.00
Major activities affecting case closing:
CBD 11/19/19

TAX RETURN STATUS: NONE REQUIRED AT THIS TIME

CASE STATUS: 341 just took place on 8/15. Case investigation just beginning. 2004 Examination set for October 17th. Inspection to be scheduled for assets 7-10, 12; exemptions/discharge deadlines
extended.

Initial Projected Date of Final Report (TFR): December 31, 2020                                     Current Projected Date of Final Report (TFR): December 31, 2020
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                                                                        Form 2                                                                                                    Page: 1

                                                        Cash Receipts and Disbursements Record
Case Number:          19-18094 EPK                                                                  Trustee:                DEBORAH C. MENOTTE
Case Name:            Richard Eric Berman                                                           Bank Name:              Signature Bank
                      Michelle Berman                                                               Account:                ******7294 - Checking
Taxpayer ID#:         ******4037                                                                    Blanket Bond:           $56,290,000.00 (per case limit)
Period:               10/01/18 - 09/30/19                                                           Separate Bond:          N/A

   1            2                       3                                          4                                                 5                    6                  7

 Trans.    Check or                                                                                             Uniform           Receipts          Disbursements        Checking
  Date      Ref. #          Paid To / Received From                    Description of Transaction              Tran. Code            $                    $           Account Balance

09/17/19   Asset #1   Richard Berman                        2018 CA tax refund                                 1224-000               1,320.00                                   1,320.00

09/23/19   Asset #2   Richard Berman                        New York State 2018 Tax Refund                     1224-000                  80.00                                   1,400.00

09/23/19   Asset #3   Richard Berman                        2018 Federal Tax Refund                            1224-000              35,197.00                              36,597.00


                                                                                  ACCOUNT TOTALS                                     36,597.00                 0.00        $36,597.00
                                                                                     Less: Bank Transfers                                 0.00                 0.00

                                                                                  Subtotal                                           36,597.00                 0.00
                                                                                     Less: Payment to Debtors                                                  0.00

                                                                                  NET Receipts / Disbursements                     $36,597.00                 $0.00


                       Net Receipts:                  $36,597.00                                                                       Net            Net                   Account
                                                                                       TOTAL - ALL ACCOUNTS                          Receipts    Disbursements              Balances
                         Net Estate:                  $36,597.00
                                                                                       Checking # ******7294                         36,597.00                 0.00         36,597.00
                                                                                                                                   $36,597.00                 $0.00        $36,597.00
